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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

Civil Action Number: 6:19-cv-858-Orl-40TBS

Ray ,

        Plaintiff,

vs.
LUCKY’S MARKET 2 LP
LUCKY’S MARKET 2 LP
d/b/a Lucky’s Market,

        Defendant.


                PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS
                    AND CORPORATE DISCLOSURE STATEMENT


        Counsel for Plaintiff, Ray T. Mahlberg, hereby discloses the following pursuant to this

Court’s Interested Persons Order and Corporate Disclosure pursuant to the Courts Order;

      1.        The name of each person, attorney, association of persons, firm, law firm,
partnership, and corporation that has or may have an interest in the outcome of this action -
including subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies
that own 10% or more of a party’s stock, and all other identifiable legal entities related to any
party in the case:

                Plaintiff, Raymond T. Mahlberg is an individual and is not affiliated with any

Corporation, unincorporated associations, partnership or other business entities which are not

parties that have a financial interest in the outcome of the litigation.

Defendant, LUCKY’S MARKET 2 LP, d/b/a Lucky’s Market, is a corporate entity which

perates the website https://www.luckysmarket.com/ (“Website”). To




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the best knowledge of the undersigned, Defendant is not a publically traded company nor is

affiliated with a publically traded company.

               Further information will be ascertained through the discovery and disclosure

       process.

     2.        The name of every other entity whose publicly-traded stock, equity, or debt may
be substantially affected by the outcome of the proceedings:

               None known at this time.

     3.        The name of every other entity which is likely to be an active participant in the
proceedings, including the debtor and members of the creditors’ committee (or twenty largest
unsecured creditors) in bankruptcy cases:

               At this juncture, it is unknown if any other company will be substantially affected

       by these proceedings.

      4.       The name of each victim (individual or corporate), of civil and criminal conduct
alleged to be wrongful, including every person who may be entitled to restitution:

               Plaintiff, Raymond T. Mahlberg is the only individual who claims entitlement to
               relief.

        I hereby certify that, except as disclosed above, I am unaware of any actual or potential
conflict of interest involving the district judge and magistrate judge assigned to this case, and
will immediately notify the Court in writing on learning of any such conflict. I further certify that
I have inserted “None” if there is no actual or potential conflict of interest.

       Dated this 27th day of May, 2019

                                                      Respectfully Submitted,

                                               s/ Acacia Barros
                                               Acacia Barros, Esq.
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                                               Miami, Florida 33176
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                                               Counsel for Plaintiff




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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2019 that the foregoing document has been filed using

CM/ECF system and will be served this day on all counsel of record identified as delineated

below via the CM/ECF system, or via email if said counsel have not entered an appearance, or

will be served to Defendant/Defendant’s counsel when said counsel enters an appearance.



                                       s/ Acacia Barros




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